Case 19-11509-LSS Doc1

A oe RCC Ae oe

 

United States Bankruptcy Court for the:

District of Delaware

 

 

 

 

Filed 07/07/19 Page 1 of 23

(State) [J Check if this is an

Case number (if known): Chapter 11 amended filing
Official Form 201

Voluntary Petition for Non-Individuais Filing for Bankruptcy 04/46

 

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the-debter’s name and the case
number {if known}. For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's Name

RUI Holding Corp.

 

2. Ail other names debtor used
in the last years

Restaurants Unlimited

 

 

Include any assumed names,

 

trade names, and doing business

 

as names

3. Bebtor’s federal Employer
Identification Number (EIN)

20-81416192

 

4, Debtor's address

Principai place_of business

411 First Ave: South, Suite 206

Mailing address, if differentfrom principal place
of business

 

 

 

Number Streat Number Street
-P.O. Box
Seattle, WA 98104
City State Zip Code City State Zip Code

King County, WA

County

Location of principal assets, if different from
principal place of business

Number Street

 

 

City State Zip Code

 

5. Debtors website (URL).

https Awan. r-u-i.com

 

6. Type of debtor

Ei Corporation. (inciuding-Limited Liability-Company (LLC) and Limited Liability Partnership (LLP))

C] Partnership (excluding LLP}
O Other. Specify:

 

 

Official Ferm 201

PHIL14 80036237v.1

Voluntary Petition for Non-individuals Filing for Bankruptey page 1
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 2 of 23

Debtor RUE Holding Corp. Case number (if known}
Names

 

 

 

 

7, Describe debtor's business Check One:

Health Care Business (as defined in 14 U.S.C. § 101(27A)})

 

Single Asset-Real Estate (as defined in 17 U.S.C. § 101(81B))
Railroad (as-defined in'11 U.S.C, § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A)}
Commodity Broker (as defined in 11°U.S:C. § 101(6))
Clearing Bank (as defined in 14 U.S.C. § 781(3)}

X& OD oOo oOoOd ®

None of the above

 

ao

. Check ail that apply:

Ol

Tax-exempt entity (as described in 26 U.S.C. § 501)

£] investment company, inciuding hedge fund or pooled investment vehicle {as defined in 15 U.S.C.
§ B0a-3)

1 investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))-

 

CG. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avww. uscolirts.gov/four-digit-national-association-naics-cades .
7225 - Restaurants and Other Eating Places

 

8. Under which chapter of the Check One:
Bankruptcy Code is the
debtor filing? E] Chapter 7

‘0 Chapter 9
Chapter 11. Check aif thaf apply:

CT Debtor's aggregate noncontingent liquidated debts (excluding. debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

[1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return, or if all of these
dacuments-de not exist, follow the procedure in 11 U.S.C.°§ 11716(1}(B).

(1 A plan ts being filed with this petition.

O Acceptances of the plan were solicited prepetition from one or more classes. of
creditors, in accordance with 11 U.S.C. § 1126(b).

1 The debtor is required to file periodic reports (for example, 10K and 10Q) with-the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. Fite the Affachment to Voluntary Petition for Non-Individuals
Filing for Bankruptey under Chapter 77 (Official Form 2014) with this form.

Ci Fhe debtor is a sheil company as.defined in the Securities Exchange Act of 1934 Rule.

 

 

12b-2.
(3 Chapter 12

9. Were prior bankruptcy cases EI No

filed by oragainstthe debtor 1 Yes: District When Case number

within the last 8 years? ee MMDDIYYYY _

lf more than 2 cases, attach a District When Case number

separate list. MM/DDIYYYY
10. Are any bankruptcy cases C1 No

pending or being filed by a Yes. Debtor See Rider 4 Relationship Affiliate

 

-business partner or an
affiliate of the debtor?

 

 

District ager
District of Delaware
List all cases. Hf more than 4, When 07/07/2019
attach a separate list. Case number, if known MM/DDIYYYY
Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

PHIL1 8003637v.1
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 3 of 23

Debtor RU Holding Corp.

Name

Case number (if known)

 

 

 

11. Why is the case filed in this
district?

Check aif that apply:

Hl Debtor has-had its domicile, principal place of business, or principai assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in-any other

district.

CO A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

fH No

O Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check alf fhaf apply.)

O_ it poses or is alieged to pose a threat of imminent and identifiable hazard to public health or

safety.

What is the hazard?

 

OH needs to be physically secured or protected from the weather.

O_siItincludes perishable goods or assets that could quickly deteriorate or Jose value without
attention (far example, livestock, seasonai goods, meat,.dairy, produce, of securities-reiated
assets or other options).

{2 Other

 

Where is the property?

ls the property insured?

O No

 

Number Street

 

 

City

O Yes. Insurance agency

Contact name

Phone.

State Zip Code-

 

 

 

 

a Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:

i Funds will be available for distribution.to unsecured creditors.
CL] After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

14. Estimated number of o] 41-49 {1  =1,000-5,006 [] 25,001-50,000
creditors O 50-99 O —-5,001-10,000 1 50,001-100,000
fen a consolidated  100-499- £]  10,001-25,000 C1 More than 100,000
) 200-999
15. Estimated assets CT} - $0-$50,000 E} — $1,000,004-$10 mitlion £] $500,000;001-$1 billion
(on a consolidated  — $50;001-$1.00,000. EJ] — $78,000,001-$50 million E)  $1,000,000,001-$10 billion
basis) [i  $100,001-$500,000 $50,000,001-$100 million CL $10,000,000,001-$50 billion
© — $500;001-$1 million 1 — $100,000,001-$500 million [1 More than $50.billion

 

Official Form 201
PHIL? 8003637v.1

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 4 of 23
Debtor RUE Holding Corp. Case number if known)

 

 

Name

 

 

16. Estimated liabilities Cl = $0-$50,000 (9  $1,000,001-$10 milion C1 $500,000,001-$1 bition
{on a consolidated O = $50,001-$100,000 1  $10,000,001-$50 million CK $1,000,000,001-$10 billion
basis) C1 $100,001-$500,000 $50,000,001-$100 million LJ $10,000,000,001-850 biltion

{  $500,001-$1 million CF $100,000,001-$500 million (] More than $50 billion

 

[oe Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 78 U.S.C. §§ 152,.1341, 1519, and 3571.

17. Declaration and signature of The debtor requests retief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of petition.
debtor

1 have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is tue and
correct.

|.declare under penalty of perjury that the foregoing is true and correct.

 

Executed on 07/07/2019
MM DDI YYYY
x /s/ David Bagley David Bagley
Signature of authorized representative of debtor Printed name

Tite Chief Restructuring Officer

 

 

18. Signature of attorney % ssl Domenic, Pacitt Date 07/07/2019
Signature of attorney for debtor MM! DDIVYYYY

 

Domenic E. Pacitti
Printed name

Klehr Harrison Harvey Branzburg LLP
Firm name

919 North Market Street, Suite 1000
Number Street

Wilmington DE 19807-3062

 

 

City State ZIP Code
302-426-1189 dpacitti@kiehr.com
Contact phone Email address

3989 DE
Bar number State

 

Official Form 20% Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
PHIL1 8003637v.1
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 5 of 23

   

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United States Bankruptcy Court for the:

District of Delaware

(State) (3 Check if this is an
Case number (if known): Chapter 11 amended filing

Rider 1
Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 14
of the United States Code.

1. RUI Holding Corp.

2, RU Corp.

3. Restaurants Unlimited, Inc.

4, Restaurants Unlimited Texas, Inc.

Rider 1

PHILt 8003637v.1
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 6 of 23

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

 

 

 

)
In re: ) Chapter 11
)
RUI HOLDING CORP., et ai.,’ ) Case No. 19-1 (__)
)
Debtors. ) (Joint Administration Requested)
)
LIST OF EQUITY SECURY HOLDERS OF
RUI HOLDING CORP.’
Debtor Equity Holders Units Heid Percentage of
Equity Held
RUI Holding Corp. Sun RUE LLC Voting Common 100% -

 

 

 

 

 

" The Debtors in these Chapter 11 Cases, along with the last four digits of each of the Debtors’ respective federal

tax identification numbers, are as follows: RUI Holding Corp. (61923; RU Corp. (8259); Restaurants Unlimited,
Inc. (8365); and Restaurants Unlimited Texas, Inc. ($733). The Debtors’ headquarters and mailing address is:
411 First Ave. South, Suite 200, Seattle, WA 98104. The Debtors operate restaurants under the following
names; Clinkerdagger; Cutters Crabhouse; Fondi Pizzeria; Henry’s. Tavern; Horatio’s; Kincaid’s; Maggie
Bluffs, Manzana, Newport Seafood Grill; Palisade; Palomino; Portland City Grill; Portland Seafood Company;
Scott’s Bar and Grill; Simon & Seafort’s; Skate’s on the Bay; Stanford’s; and Stanley & Seafort’s.

This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules-of
Bankruptcy Procedure, All equity positions listed are as of the date of commencement of this chapter 11 case.

Rider 1

PHIL1 8003637v.1

 
PIM RUM r eMac UCM RCeMe onl Li ale merclcte were (nl oie ltl: Pea

 

Case 19-11509-LSS Doc1 Filed 07/07/19 Page 7 of 23

 

 

 

 

 

 

Gebior Name RUE Holding Corp.
United States Bankruptcy Court forthe: District of Delaware
{State}
| Case number (If known):
Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

 

An individuat who is authorized to act on behaif of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual's position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankrupicy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Pf Declaration and signature

OHoocgaogo a

fam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
partnership; or another individual serving as.a. representative of the debtor in this case.

f have examined the information in the documents checked belew and | have a reasonable belief that the information is true
and correct:

Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
Schedule 2: Creditors Whe Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F}
Schedule G: Execufory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum}
Amended Schedule

Chapter 17 or Chapter 9 Cases. List of Creditors Who Have_the 20 Largest Unsecured Claims and Are Not insiders
(Official Form 204)

Other document that requires a declaration List of Equity Security Holders

| declare under penalty of perjury that the foregoing is true and correct.

Executed on

/s/ David Bagley

 

 

 

O7/07/2019
MM/ DDIYYYY Signature of individual signing on behalf of debtor
David Bagley
Printed name
Chief Restructuring Officer
Position or relationship to debtor
Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

PHIL1 8003637v.1

 
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 8 of 23

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

RUI HOLDING CORP., et ai.,! Case No. 19-1 (_)

Debtors. (Joint Administration Requested)

Nene Ne me! See! Nee! Sere” ee”

 

CORPORATE OWNERSHIP STATEMENT OF
RUI HOLDING CORP.

 

In accordance with Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
Procedure, the above-captioned Debtor in this case submits the following information:

 

Corperate Equity Holder Address of Corporate Equity Owner Interest

 

 

Sun RUI, LLC 5200 Town Center Circle, 4" Floor 100%
Boca Raton, FL 33486

 

 

 

 

 

' The Debtors in-these Chapter 11 Cases, along with the last four digits of each of the Debtors’ respective federal
tax identification numbers, are as follows: RUI Holding Corp. (6192); RU Corp. (8259); Restaurants Unlimited,
Inc. (8365); and Restaurants Unlimited Texas, Inc. (5733). The Debtors* headquarters and mailing address is:
411 First Ave. South, Suite 200, Seattle, WA 98104. The Debtors operate restaurants under the following
names: Clinkerdagger; Cutters Crabhouse; Fondi Pizzeria; Henry’s Tavern; Horatio’s; Kincaid’s; Maggie
Bluffs; Manzana; Newport Seafood Grill; Palisade; Palomino; Portland City Grill; Portland Seafood Company;
Scott’s Bar and Grill; Simon & Seafort’s; Skate’s on the Bay; Stanford’s; and Stanley & Seafort’s.

PHIL1 8003637v.1
Fill in this information to identify the case and this filing:

 

Case 19-11509-LSS Doc1 Filed 07/07/19 Page 9 of 23

 

 

 

 

 

 

Debtor Name RUT Holding Corp,
Unifed States Bankruptcy Court for the: District of Delaware
(State)
Case number (if known):
Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual's position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is-a serious crime. Making a false staternent, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,060 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§. 152, 1341, 1519, and.3571.

aw Declaration.and signature

Oocec aon do oO

BY

fam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
partnership; or another individual serving as a representative of the debtor in this case.

ij have examined the information. in the documents checked below and | have a reasonable belief that the information is true
and correct:

Schedule A/B: Assets-Real and-Personal Property (Official Form 2064/5)
Schedule D: Credifors Who Have Claims Secured-by Property (Official Form 206B)
Schedule E/F: Creditors Who Have- Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary-of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 er Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and.Are Not Insiders
(Official Form 204}

Other document that requires a declaration Corporate Ownership Statement

 

i declare under penaity of perjury that the foregoing is true and correct.

Executed on

 

 

 

« /s/ David Bagley

o7/07/2079-

MM/ DDIYYYY Signature of individual signing on behalf of debtor
David Bagley
Printed name
Chief Restructuring Officer
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

PHIL1 8003637v.1
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 10 of 23

aa MTR EW arielaecteten hte Identify the case:

Debtor Name: RUI HOLDING CORP.

(_] Check if this is an

United States Bankruptcy Court for the: District of Delaware amended filing

Case Number (if known):

 

 

Official Form 204

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders 12/15

 

A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter $ case. Include claims
which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined In 11 U.S.C. § 101(31}. Also, do not
include claims by secured creditors, unless the unsecured claim resulting-from inadequate collateral value places the creditor among the
holders of the 30 largest unsecured claims.

 

 

Gollateral or 22}
Betoff og:

   

 

 

 

 

 

 

 

 

 

1 PACIFIC SEAFOOD CO. OF CONTACT: CFGOR GENERAL TRADE VENDOR $935,427.36

 

 

 

 

WA/{MUKILTEO) COUNSEL
16797 SE 430TH AVE PHONE: 503-908-4500
CLACKAMAS, OR 97025 FAX: 503-905-4200
ARGENERAL@PACSEAFOOD.
coM
2 SYSCO FOOD SERVICES PORTLAND CONTACT: LINDA SCRUGGS TRADE VENDOR $707,418.54
26250 SW PARKWAY CENTER DRIVE PHONE: 503-682-8700
WILSONVILLE, OR 97070 REMIT@SBS.SYSCO,COM;
SCRUGGS.LINDA@CORP.SYS
ca,cOoM
3 SYSCO SEATTLE CONTACT: LINDA SCRUGGS TRADE VENDOR $605,661.30
22820 54TH AVENUE SOUTH PHONE: 206-622-2261
KENT, WA 98032 REMIT@S8S,.SYSCO.COM;
SCRUGGS, LINDA@CORP.SYS
co,.coM
4 CHARLIES PRODUCE COMPANY CONTACT: CFO OR GENERAL TRADE VENDOR $471,691.75
5033 1ST AVES COUNSEL
SEATTLE, WA 98134 PHONE: 206-625-1412
FAX: 206-442-9923
ARREMITTANCE @CHARLIESP
RODUCE.COM
5 SYSCO SAN FRANCISCO NCA.G50 CONTACT: LINDASCRUGGS TRADE VENDOR $184,615.92
5800 STEWART AVENUE PHONE: 510-226-3000
FREMONT, CA 94538 REMIT@SBS.SYSCO.COM;
SCRUGGS.LINDA@CORP.SYS
CO.cOM

 

 

Official Form 204 Chapter 11 or Chapter 9 Cases; Consolidated List of Creditors Who Have the 36 Largest Unsecured Claims Page 1
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 11 of 23

Debtor: RU] HOLDING CORP. Case Number {if known}:

 

 

  

 

 

 

 

 

 

 
  
   

Total claim,

  

partially secured.

 

| Deduction
for. value of

 

 

collateral or. -

[sete

‘Unsecured Lesh

 

claim 2:

  

 

 

6 MICROSOFT LICENSING, GP, CONTACT: CFOOR GENERAL RADE VENDOR

 

 

$176,290.25

 

 

 

 

 

 

 

 

 

1950 N STEMMONS FWY, STE.5010 COUNSEL
DALLAS, TX 75207 PHONE: 775-823-5600
MSCREDIT@MICROSOFT.CO
M
7 ARAMARK 101179 / PASADENA CONTACT: CFO OR GENERAL TRADE VENDOR $160,172.67
REMIT COUNSEL
200‘WEST CALIFORNIA BOULEVARD PHONE: 245-238-3000
PASADENA, CA 91105 AUS_REMITINFO@UNIFORM
+ARAMARK.COM
8 SY5CO - ALASKA REMIT CONTACT: LINDA SCRUGGS TRADE VENDOR $142,731.66
6601 CHANGEPOINT DR PHONE: 907-565-5567
ANCHORAGE, AK 99518 REMIT@SBS.SYSCO.COM;
SCRUGGS, LINDA@CORP.SYS
CO.COM
3 NEWPORT MEAT COMPANY CONTACT: CFO OR GENERAL TRADE VENDOR $123,104.49
16694 HALE AVENLIE, COUNSEL
IRVINE, CA $2623-9726 PHONE: 949-399-4299
FAX: 945-474-1439
EFT@NEWPORTMEAT.COM;
INFO@NEWPORTMEAT.COM
10 =LASPECIALTY PRODUCE CODBASF CONTACT: CFOOR GENERAL TRADE VENDOR $118,295.67
SPECIALTY COUNSEL
13527 GRDEN DRIVE PHONE: 562-741-2200
SANTA FE SPRINGS, CA 8067) FAX: 862-741-2907
ACCOUNTS.RECEIVABLE@LA
SPECIALTY.COM
ii RPAI~ RETAIL PROPERTIES OF CONTACT: TIMOTHY LANDLORD $104,390.10
AMERICA MOOGREHEAD
RPAI SOUTHWEST MANAGMENT LLC PHONE: 469-467-9995
15105 COLLECTIONS CENTER DRIVE AR.ACH@RPAI.COM,
CHICAGO, IL 60693-5105 CONNOR@RPAI.COM
12. BASEBALL CLUB OF SEATTLE, THE CONTACT: M. WALLACE TRADE VENDOR $103,800.00
LLLP DBA SEATTLE MARINERS PHONE: 206-346-4007
SAFECO FIELD 1250 FIRST AVENUE =~ FAX: 206-346-4001
SOUTH MWALLACE@MARINERS.CO
SEATTLE, WA 98134 M
13. ATTILIO MERLING & ASSOC INC DBA CONTACT: CFOOR GENERAL TRADE VENDOR $99,614.60
MERLING FOODS COUNSEL
4100 4TH AVES PHONE: 206-723-4700
SEATTLE, WA 98134 AR_ACH@MERLINO.COM;
SALES@MERLING.COM
14 SYSCO MN 047 CONTACT: LINDA SCRUGGS  =TRADE VENDOR $97,469.74
2400 COUNTY ROAD J PHONE: 763-785-9000
SAINT PAUL, MN 55212 REMIT @SBS.SYSCO.COM;
SCRUGGS.LINDA@CORP,SYS
Co.cOoM
15 SYSCO- DENVER CONTACT: INDASCRUGGS TRADE VENDOR $93,424.18
5000 BEELER STREET PHONE: 303-585-2006
DENVER, CO 80238 REMIT@SBS.SYSCO.COM;
SCRUGGS LINDA@CORP.SYS
co.coM

 

 

Official Form 204 Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims

Page 2

 

 
Debtor: RU} HOLDING CORP.

Case 19-11509-LSS

Case Number (if known):

Doc1 Filed 07/07/19 Page 12 of 23

 

 

 

 

 

Total claim, Ife"
partially secured. °

 

 

 

 

Deduction: -

 

oP Unsecured
for-value of
collateral or’.
| Setofho

claim.

   

 

 

 

$92,469.89

 

 

 

 

 

 

 

 

 

 

16 CIRCLE CENTRE OEY, CO, CONTACT: CFO OR GENERAL LANDLORD
225 W WASHINGTON ST COUNSEL
SIMON PROPERTY GROUP PHONE: 317-681-5635
INDIANAPOLIS, IN 46204 FAX: 347-685-7270
17.) KEMPER HOLDINGS DBA LINCOLN CONTACT: NINA CHURCH LANDLORD $76,624.97
SQUARE RETAIL, LLC PRONE: 425-645-3560
575 BELLEVUE 50, AR@KEMPERDC.COM;
BELLEVUE, WA 938004 NINA.CHURCH@KEMPERDC,
COM;
LORRIE. SNYDER@KEMPERDC
COM
18 «=FAVCO CONTACT: CFOOR GENERAL TRADE VENDOR $74,761.20
1205 W 25TH AVE COUNSEL
ANCHORAGE, AK 99503 PHONE: 907-278-1525
FAX: 907-276-6626
BONNY @FAVCO.NET;
FAVCO@FAVCO.NET
19 PORTLAND FRENCH LIMITED OBA CONTACT: CFO OR GENERAL TRADE VENDOR $69,876.03
PORTLAND FRENCH BAKERY COUNSEL
6840 N MARINE DR PHONE: 803-283-3831.
PORTLAND, OR 97203 FAX: 503-283-0147 ©
RECEIVABLES@PORTLANDFR
ENCH.COM;
COMMENTS@ PORTLANDFRE
NCH.COM
20 LIBERTY MUTUAL INS (ACH ONLY} CONTACT: JENNGFER KELLY INSURANCE / $68,797.64
175 BERKELEY STREET PHONE: 617-357-9500 BENEFITS
BOSTON, MA 02116 FAX: 857-224-1430
JENNIFER. KELLY@UBERTYM
UTUAL.COM
21 DENVER PAVILIONS OWNERCO, LLC) =CONTACT: A. KRANTZ LANDLORD $56,659.39
299 MILKWAUKEE ST. PHONE: 303-270-0343
SUITE 500 AKRANTZ@ GARTPROPERTIES
DENVER, CO 80206 .COM;
AAMATO@GARTPROPERTIES
COM
22 ELLIOTT BAY MARINA, INC. CONTACT: KAT BINDER LANDLORD $53,554.02
2601 W MARINA PL PHONE: 206-285-4837
SEATTLE, WA 98199 INFO@ELLIGTTBAYMARINA.
NET;
KAT@ELLIOTTSAYMARINA,N
ET
23° SOUTHERN GLAZERS WINE & CONTACT: CFO OR GENERAL TRADE VENDOR $49,837.33
SPIRITS OF NCA COUNSEL
33321 DOWE AVE PHONE: 510-477-5500
UNION CITY, CA 94587-2047 FAX: 510-441-7189
24 TMT LLOYD RETAILING CONTACT: DARREN LANDLORD $48,224.59
9043 NE GILSAN STREET MCDONALD & AUTUMN
C/O ELUOTT ASSOCIATES, INC TRAPANI
PORTLAND, OR 97232 PHONE: 503-972-7217 / 503-
972-7213
DMCDONALD@NAIELUIOTT.C
OM;
ATRAPANL@ NAJELLIOT?.CO-
M
Official Form 204 Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims Page 3

 
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 13 of 23

Debtor: RU] HOLDING CORP. Case Number (if known):

 

 

  

 

  

otal claim, if .:°. "1 Deduction
‘partially secured...? for value of
EDP Er: + collateral or

 

 

 

 

 

   
  
  

   
  
 

Unsecured
3 claim: ptt

4 Setoff..- : me,

   
 

 

 

 

 

 

$45,128.71

 

 

 

 

 

25. MEPT EDGEMOOR REIT DBA CONTACT: SABAH KELLEY LANDLORD
BREWERY BLOCK 2 PHONE; 240-235-9960
7315 WISCONSIN AVENUE SUITE FAX: 240-235-9961
350 WEST SARAH.KELLEY@AM.JLL.COM
C/O NEWTOWER TRUST COMPANY
BETHESDA, MD 20814
26 BIX PRODUCE COMPANY LLC CGNTACT: CFO OR GENERAL TRADE VENDOR $44,524.38
1415 LORIENT STREET COUNSEL
ST. PAUL, MN 55147 PHONE: 651-487-8000
FAX! 654-487-1314
AR@BIXPRODUCE.COM
27 ECOLAB INSTITUTIONAL CONTACT: CFO OR GENERAL TRAQE VENDOR $44,382.90
1 ECOLAB PLACE COUNSEL
ST, PAUL, MN 55102 PHONE: 800-232-6522
EDIREPORTS@ECOLAB.COM
28 SLM WASTE & RECYCLING: CONTACT: LORI BITTING UTILITY $42,268.24
SERVICES, INC. PHONE: 888-847-4449
5C00 COMMERCE DRIVE LORI.BITTING@SLMFACILITIE
GREEN LANE, PA 18054 S.COM
29 PPF OFF 345 SPEAR STREET, LP; CONTACT: LISA ANGELON! = LANDLORD $41,048.00
345 SPEAR STREET, SUITE 124 PHONE: 415-777-3345
C/O JONES LANG LASALLE - HILLS LISAANGELONI@HILLSPLAZA
PLAZA SE.COM
SAN FRANCISCO, CA 94105
30 PORT GF OAKLAND CONTACT: A. ZAMORA &J. — LANDLORD $37,907.44
530 WATER STREET BRAUN
C/O PORT OF OAKLAND, PHONE: 510-272-1100
COMMERCIAL REAL ESTATE AZAMORA@PORTOAKLAND.
DIVISION COM;
OAKLAND, CA 94607 CASHIER@PORTOAKLAND.C
OM;
JBRAUN@PGRTOAKLAND.CO
M

 

 

Official Form 204

Chapter 11 or Chapter $ Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims

Page 4
 

Fill in this information to identify the case_and this filing: :

Case 19-11509-LSS Doc1 Filed 07/07/19 - Page 14 of 23

 

 

 

 

 

 

Debtor Name RUL Hokting Corp.
United States Bankruptcy Court for the: District of Delaware
{State}
Case number (if known):
Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets-and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual's position or relationship to the

debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9071.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up-to 20 years, or

both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Declaration and signature

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i

 

fam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
partnership; or-ancther individual serving as a representative of the debtor in this case.

[have examined the information in the documents checked below and | have a reasonable belief that the information.is true
and correct:

Schedule A/B: Assets-Real and Personal Property {Gfiicial Form 2064/8)
Schedule D: Creditars Who Have Claims Secured by Property (Official.Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)}
Amended Schedule

Chapter 17 or Chapter 9 Cases: List.of Creditors Whe Have the 20 Largest Unsecured Claims and Are Not Insiders
(Official Form 204)

Other document that requires a-declaration Certification of Creditor Matrix

| deciare under penalty of perjury that the foregoing is true and correct.

Executed on

0707/2019 /s/ David Bagley

Mi DDIYYYY Signature of individual signing on behalf of debtor
David Bagley

 

Printed name
Chief-Restructuring Officer

 

Position or reiationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

PHIL1 8003637v.1
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 15 of 23

JOINT WRITTEN CONSENT IN LIEU OF SPECIAL MEETINGS
OF THE BOARDS OF DIRECTORS

July 5, 2019

The undersigned, being all of the directors of the Boards of Directors (each a “Board”,
and collectively, the “Boards”) of each of the corporations listed on Schedule 1 attached hereto
(each, a “Corporation”, and collectively, the “Corporations”), in lieu ef holding special meetings
of the Boards, hereby take the following actions and adopt the following resolutions by written
consent pursuant to the By-laws of each Corporation and Section 141(f) of the General
Corporation Caw of the State of Delaware, Section 23B.08.210 of the Washington Business
Corporation Act, Section 302A.239 of the Business Corporation Act of the State of Minnesota,
and Section 6.201 of the Texas Business Organizations Code, as applicable, effective as of the
date set forth above:

 

Chapter 11 Filing

WHEREAS, the Boards considered presentations by the management and the financial
and legal advisors of the Corporations regarding the financial situation of the Corporations, the
strategic alternatives available to them, and the effect of the foregoing on the Corporations’
businesses; and

WHEREAS, the Boards have had the opportunity to consult with the management and
the financial and-legal advisors of the Corporations and fully consider each of the strategic
alternatives available to the Corporations,

NOW, THEREFORE, BE IT:

RESOLVED, that.in-the-judgment of the Boards, it is desirable and in the best interests
of the Corporations, their creditors, and other parties in interest, that each of the Corporations
shall be, and hereby is, authorized to file or cause to be filed a voluntary petition for relief (such
voluntary petitions to be filed by the Corporations are -collectively referred to herein as the
“Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptey Code” in-a court of proper jurisdiction (the “Bankruptcy Court”), and it is

FURTHER RESOLVED, that any duly appointed officer of the Corporations
(collectively, including, but not limited to, the Chief Executive Officer, the Chief Financial
Officer, and the Chief Restructuring Officer, the “Authorized Officers”), acting alone or with one
ot more other Authorized Officers be, and each of them hereby is, authorized, empowered, and
directed.to execute and file on behalf of the Corporations all petitions, schedules, lists, and other

motions, objections, replies, applications, papers, or documents, and to take any and all action’

that they deem necessary or proper to obtain such relief, including, without limitation, any action
necessary or proper to maintain the ordinary course operation of the Corporations’ businesses or
to assist the Corporations in the Chapter 11 Cases and in carrying out their respective duties
undet the provisions of the Bankruptcy Code; and it is

PHIL1 8002959v.2

 

 
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 16 of 23

Debtor-In-Possession Financing, Cash Collateral, and Adequate Protection

- RESOLVED, that each of the Corporations will obtain benefits from: (i) the use of
collateral, including cash collateral, as that term-is defined in section 363(a) of the Bankruptcy
Code (the “Cash Collateral”), which is security for certain prepetition secured lenders
(collectively, the “Secured Lenders”) party to that certain Third Amended and. Restated Credit
Agreement, dated as of July 31, 2013, among Corporations, as borrowers and guarantors,
Fortress Credit Co LLC, as agent, and the lenders party thereto from time to time; and (11) certain
debtor-in-possession financing (the “DIP Financing”) provided by certain of the Secured Lenders
or their.affiliates; and it is

FURTHER RESOLVED, that to use and obtain the benefits of the Cash Collateral, and
in accordance with_section 363 of the Bankruptcy Code, the Corporations will provide certain
adequate protection fo the Secured Lenders (the “Adequate Protection Obligations”), as
documented in a proposed interim order (the “Interim DIP Order”) and submitted for approval to
the Bankruptcy Court; and itis-

FURTHER RESOLVED, that in the business judgment of the Boards, it is desirable and
in the best interests of the Corporations, their respective stakeholders, creditors, and other parties
in interest, to enter into a certain new debtor-in-possession credit agreement (the “DIP Credit
Agreement”), in form or substantially in the form thereof submitted to the Boards; and it is

FURTHER RESOLVED, that the form, terms, and provisions -of the DIP Credit
Agreement, and the form, terms, and provisions of such other agreements, certificates, schedules,
and instruments contemplated thereby (including the DIP Credit Agreement, collectively, the
“DIP-Credit Agreement Documents”) be, and hereby are, authorized, adopted, and approved, and

each of the Authorized Officers of the Corporations be, and hereby is, authorized and.

empowered, in the name of and on behalf of the Corporations, to take such actions and negotiate
or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
. performance of the DIP Credit Agreement Documents, and incur and pay or cause fo be paid ail
fees-and expenses and engage such persons, in each case, in the form or substantially inthe form
thereof submitted to the Boards, with such changes, additions, and modifications thereto as the
officers of the Corporations executing the same shall approve, such approval to be conclusively
evidenced by such officers’ execution and delivery thereof; and it is

FURTHER RESOLVED, that the form, terms, and provisions of the Interim DIP Order
to which the Corporations are or will be subject, and the actions and transactions contemplated
thereby be, and hereby are, authorized, adopted, and approved, and each of the Authorized
Officers of the Corporations be, and hereby are, authorized and empowered, in the name of and
on behalf of the Corporations, fo take such actions and negotiate or cause to be prepared and
negotiated and to execute, deliver, perform, and cause the performance of, the Interim DIP
Order, and such other agreements, certificates, instruments, receipts, petitions, motions,
objections, replies, or other-papers or documents to which the any of the Corporations is or will
be a party, including, but not limited to, any ferm sheet, credit agreement, security and pledge
agreement, or guaranty agreement (collectively with the Interim DIP Order and the DIP Credit
Agreement Decuments, the “DIP Documents”), and incur and pay or cause to be paid ail fees
and- expenses and engage such persons, in each case, in the form or substantially in the form

-2-
PHIL 8002959v.2

 
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 17 of 23

thereof submitted to the Boards, with such changes, additions, and modifications thereto as the
officers of the Corporations executing the same shall approve, such approval to be conclusively
evidenced by such officers’ execution and delivery thereof; and it is

FURTHER RESOLVED, that each Corporation, as debtor and debtor-in-possession
under the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection
Obligations and certain secured claims pursuant to the DIP Credit Agreement Documents (the
“DIP Obligations”) and to undertake any and all related transactions on substantially the same
terms as contemplated under the DIP Credit Agreement Documents (collectively, the “Adequate
Protection Transactions”); and it is

FURTHER RESOLVED, that the Authorized Officers of the Corporations be, and they
hereby are, authorized and directed, and each of them acting alone hereby is, authorized,
directed, and empowered in the name of, and on behalf of, the Corporations, as debtor and
debtor-in-possession, to take such actions as in their discretion is determined to be necessary,
desirable, or appropriate and execute the Adequate Protection Transactions, including delivery
of: (a) the DIP Documents and such agreements, certificates, instruments, guaranties, notices,
and any and all other documents, including, without limitation, any amendments to any DIP
Documents (collectively, the “Adequate Protection Documents”); (b) such other instruments,
certificates, notices, assignments, and documents as may be reasonably requested by the Agent
(as defined in the DIP Credit Agreement); and (c) such ferms of deposit account control
agreements, officet’s certificates, and compliance certificates as may-be required-by the DIP
_Documents or any other Adequate Protection Document; and it is

FURTHER RESOLVED, that each of the Authorized Officers of the Corporation be,
and hereby is, authorized, directed, and empowered in the name of, and on behalf of, the
Corporation to file or to authorize the Agent to filé any Uniform Commercial Code (the “UCC”)
financing statements, any other equivalent filings, any intellectual property filings and
recordation and any necessary assignments for security or other documents in the name of the
Corporations that the Agent deems necessary or appropriate fo perfect any lien or security
interest granted under the Interim DIP Order, including any such UCC financing statement
containing a generic description of collateral, such as “all assets,” “all property now or hereafter
acquired” and other similar descriptions of like import, and to execute and deliver, and to record
ot authorize the recording of, such mortgages and deeds of trust in respect of real property of the
Corporations and such other filings in respect of intellectual and other property of the
Corporations, in each case as the Agent may reasonably request to perfect the security interests
of the Agent under the Interim DIP Order; and itis

FURTHER RESOLVED, that each of the Authorized Officers of the Corporation be,
and hereby is, authorized, directed, and empowered in the name of, and on behalf of, the
Corporations to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the Adequate Protection
Transactions and all fees and expenses incurred by or on. behalf of the Corporations in
connection with the foregoing resolutions, in accordance with the terms of the Adequate
Protection Documents, which shall in their sole judgment be necessary, proper, or advisable to
perform any of the Corporations’ obligations under or in connection with the Interim DIP Order

-3-
PHIL 1 8002959v.2

 
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 18 of 23

or any of the other Adequate Protection Documents and the transactions contemplated therein
and to fully carry out the intent of the foregoing resolutions; and it is ,

Retention Of Professionals

 

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ the law firm of Klehr, Harrison Harvey Branzburg LLP, under a classic
retainer as general bankruptcy counsel, to represent and assist the Corporations in carrying out
their duties under the Bankruptcy Code, and to take any and all actions to advance each of the
Corporations’ rights and obligations, including filing any motions, objections, replies,
applications, ot pleadings; and in connection therewith, each of the Authorized Officers, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Klehr Harrison Harvey Branzburg LLP; and it is.

FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm of Configure Partners, LLC, as investment banker, te
represent and assist the Corporations in carrying out their duties under the Bankruptcy Code, and
to take any and all actions to adyance the Corporations rights and obligations; and in connection
therewith, each of the Authorized Officers is, with power of delegation, hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed an appropriate application: for authority to retain the services of Configure Partners,
LLC; and it is

FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed te-employ the firm of Carl Marks Advisory Group LLC, as restructuring
advisor, to represent and assist the Corporations in carrying out their duties under the Bankruptcy
Code, and to take any and all actions to advance each of the Corporations-rights and obligations;
and in connection therewith, cach of the Authorized Officers is, with power of delegation, hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers,
and te cause to be filed an appropriate_application for authority fo retain-the services of Car!
Marks Advisory Group LLC; and it is

FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm of Epiq Bankruptcy Solutions, Inc. as notice, claims,
and balloting agent to represent and assist the Corporations in carrying out their duties under the
Bankruptcy Code, and to take any and all actions to advance the Corporations rights and
obligations; and in connection therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Epiq Bankruptcy Solutions, Inc.; and it is

FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ any other professionals to assist the Corporations in carrying
out their duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized and directed fo execute appropriate

PHILS 8002959v,2

 
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 19 of 23

retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals.as necessary, and it is

FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is, with.
power of delegation, authorized, empowered, and directed to execute and file all petitions,
schedules, motions, objections, replies, applications, pleadings, lists, and other papers and, in
connection. therewith, to employ and retain all assistance by legal counsel, accountants,
investment bankers, financial advisors, restructuring advisors, and other professionals-and to take
and perform any and all further acts and deeds that each of the Authorized Officers deem
necessary, proper, or desirable in connection with the Chapter if Cases, with a view to the
successful prosecution of the cases, and it is

General .

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each ofthe Authorized Officers (and their designees and delegates) be, and
hereby is, authorized and empowered, in the name of and-on behalf of the Corporations, to take
or cause to be taken any ard all such other and further action, and to execute, acknowledge,
deliver, and file any and all such agreements, certificates, instruments, and other documents and
to pay all expenses, including but not limited to filing fees, in the case as in such officer’s or
officers’ judgment, shal! be necessary, advisable, or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein;-and it is

FURTHER RESOLVED, that-each of the undersigned directors have received sufficient
notice of the actions and transactions relating to the matters contemplated by the foregoing
resolutions, as may be required by the organizational documents of the Corporations, or hereby
waives any right to have received such notice; and it is

FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the -foregoing resolutions done in the name of and on behalf of the
Corporations, which acts would have been approved by the foregoing resolutions except-that
such acts were taken before the adoption of these resclutions, are hereby in all respects approved
and ratified as the true acts and deeds of the Corporations with the same force and effect as if
each such act, transaction, agreement, or certificate has been specifically authorized in advance
by resolution of the Boards; andit is

FURTHER RESOLVED, that facsimile. or photostatic. copies of signatures to this
consent shall be deemed to be originals and may be relied on to the same extent as the originals;
and it is

FURTHER RESGLVED, the actions taken by this Joint Unanimous Written Consent
shall have the-same force and effect as if taken at a special meeting of the Boards daly called and
constitated pursuant to the By-laws of the Corporations and the laws of the State of Delaware,
the State of Washington, the. State of Minnesota or the State of Texas, as applicable.

[SIGNATURES FOLLOW]

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Case 19-11509-LSS Doc1 Filed 07/07/19 Page 20 of 23

 

IN WITNESS WHEREOF, the undersigned has executed this Joint Unanimous Written ©
Consent effective as of the day and year first written above.

BOARD OF DIRECTORS:

a

Stephen Celia ™

 

 

Jonathan Jackson

 

 

James E. Eschweiler

Coustituting all of the directors af the Boards of
Directors of (i) RUT Holding Corp., (li) RU Cerp.,
(iii) Restaurants Unlimited, Inc, and (iv)
Restaurants Untimited Texas, Inc.

PHIL] 8002959v.2
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 21 of 23

IN WITNESS WHEREOF, the undersigned has executed this Joint Unanimous Written
Consent effective as of the day and year first written above,

BOARD OF DIRECTORS:

  

 

s L
Jonathan Jacks

  

 

James B. Eschweiler

Constituting all of the directors of the Boards of
Directors of (i) RUI Holding Corp., (ii) RU Corp.,
(iti) Restaurants Unlimited,tnc., and (iv)
Restaurants Untimited Texas, Inc.

PHIL 8002959v.2

 
Case 19-11509-LSS Doc1 Filed 07/07/19 Page 22 of 23

IN WITNESS WHEREOF, the undersigned has executed this Joint Unanimous Written
Consent effective as of the day and year first written above.

BOARD OF DIRECTORS:

 

Stephen Cella

 

Jonathan Jackson

| a

J af is E, Eschweiler

 

Constitating all of the directors of the Boards of
Directors of (i) RUI Holding Corp:, (ti) RU Corp.,
(tii) Restaurants Unlimited, Inc., and-(iv)
Restaurants Unlimited Texas, Ine.

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Case 19-11509-LSS Doc1 Filed 07/07/19 Page 23 of 23

Schedule 1

RUI Holding Corp,, a Delaware corporation

RU Corp., a Washington corporation

Restaurants Unlimited, Inc., a Minnesota corporation
Restaurants Unlimited Texas, Inc., a Texas corporation

 

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